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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )              Case No. 3:19cr130
                                             )
OKELLO T. CHATRIE,                           )
          Defendant                          )


                        MR. CHATRIE’S SENTENCING POSITION

       Okello Chatrie, through counsel, files this position with regard to sentencing pursuant to

Rule 32 of the Federal Rules of Criminal Procedure. Mr. Chatrie has received and reviewed the

presentence report (“PSR”) with the assistance of counsel. He has no additional amendments,

corrections, or objections to the PSR. Mr. Chatrie stands before the Court as a result of his

convictions for bank robbery, in violation of 18 U.S.C. § 2113, and brandishing a firearm during

and in relation to that robbery, in violation of 18 U.S.C. § 924(c), after he pled guilty to those

crimes pursuant to a conditional plea agreement. The advisory sentencing guideline range for the

robbery offense is 57 to 71 months of imprisonment. The Court must sentence Mr. Chatrie to

seven consecutive years on the gun count. For the reasons discussed below, a total sentence of

130 months—46 months on Count One and a consecutive 84 months on Count Two—is sufficient

but not greater than necessary to satisfy all of the applicable concerns set forth in 18 U.S.C. §

3553(a).

       I.      In evaluating a request for a variance, the Court continues to review the
               sentencing factors in 18 U.S.C. § 3553(a).

       After considering the appropriately-calculated guideline range, courts are to consider all

the factors under 18 U.S.C. § 3663(a) in reaching the appropriate, individualized sentence for the


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particular case. See Gall v. United States, 552 U.S. 38, 49 (2007); Kimbrough v. United States, 552

U.S. 58, 90 (2007) (observing that the Guidelines “now serve as one factor among several courts

must consider in determining an appropriate sentence”). In evaluating variance motions, the Court

must evaluate all of the § 3553(a) factors and determine whether the most appropriate sentence in

the case is one that falls outside of the guidelines. Gall, 552 U.S. at 46-51 (observing that the

sentencing process under the advisory sentencing guideline scheme requires the Court to 1)

accurately calculate the advisory guidelines; 2) use the guidelines as a starting point; 3) give “both

parties an opportunity to argue for whatever sentence they deem appropriate;” 4) consider all of

the § 3553(a) factors in determining an appropriate sentence based on all of the unique facts and

circumstances of the case; 5) consider, if a variance is appropriate, the extent of the variance; and

6) adequately explain the chosen sentence).

       In addition to the advisory guideline range, the other factors that a court must consider

when determining an appropriate sentence include the nature and circumstances of the offense and

the history and characteristics of the defendant, 18 U.S.C. § 3553(a)(1); the need for the sentence

to reflect the seriousness of the offense, promote respect for the law, provide just punishment,

afford adequate deterrence, protect the public, and provide the defendant with appropriate

correctional treatment, id. at § 3553(a)(2); the kinds of sentences available, id. at § 3553(a)(3); the

need to avoid unwarranted disparity among defendants with similar records and conduct, id. at §

3553(a)(6); and the need to provide any restitution to any victims of the offense, id. at § 3553(a)(7).

Pursuant to 18 U.S.C. § 3553(a), courts must “impose a sentence sufficient, but not greater than

necessary to comply with the purposes” of sentencing.




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       II.     Discussion of the facts related to the § 3553(a) factors

       Okello Chatrie is a twenty-seven-year-old man who has spent the last three years in local

custody, waiting to be able to move on with his life in one direction or another. While Mr. Chatrie

appreciated and appreciates the import of the significant legal issues in his case, being separated

from his family and his culture and being locked up for the first time in his life without basic things

most of us take for granted—like regular access to the outside environment, fresh foods, and the

ability to be by oneself—has weighed heavily on him. He looks forward to a change in his

circumstances—the chance to move to the Bureau of Prisons, where at least he will be able to walk

the yard and hopefully find some moments of quiet.

       An opportunity for solitude is something that Mr. Chatrie craves desperately. As Dr.

Bartlett’s psychological evaluation report and the presentence report recount, Mr. Chatrie has

suffered a tremendous amount of trauma over the course of his short life. See Ex. A at 2-8. Mr.

Chatrie, through no fault of his own, was born into a place that was overrun with violence and

poverty. See Ex. B (describing years of uncontrolled violence in Spanish Town, Jamaica) and Ex.

C (reporting, despite optimism in 2013 that violent crime would abate soon, that in 2018—the year

after Mr. Chatrie immigrated to the United States—crime rates had gotten so bad that the

government declared a state of emergency). Violent street gangs had overrun Mr. Chatrie’s

community. Id. Violent crime was so extensive that police officials themselves resisted being

assigned to oversee the area. See Ex. B at 1. Gang members carried out vicious killings—

including beheadings, causing business owners to shutter their stores. Id. Even once the number

of shootings and murders began to decrease in the mid-2010’s for a period of time, the number of

robberies, burglaries, and rapes increased. Id.




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       Mr. Chatrie and his family experienced that violence personally. When Mr. Chatrie was

just five years old, he, for the first time, saw people being murdered as he walked home from

school. See Ex. A at 3. Mr. Chatrie had walked by a bar on his way home and saw three or four

people riddled with bullets, lying in a pool of blood. Id. The shooter then came back around and

shot the bodies again to ensure their deaths. Id. Such shootouts were common in the area. Id. “I

then came to realize that what was going on around me was a war.” Id. Those shootouts came

even more directly to Mr. Chatrie’s home. Id. at 4. When Mr. Chatrie was about twelve years old,

a neighbor woman had argued with a gang leader. The gang leader threatened to kill the woman

and her family and burn their house to the ground. Id. One night, he did just that. Mr. Chatrie

and his family heard gunshots and awoke to find the neighbor woman’s house on fire—a blaze

that trapped and killed the woman and her family. Id.

       Mr. Chatrie’s own mother was attacked violently by four men and hospitalized for two

weeks. See ECF No. 233 at ¶69. After several years, she became quite sick. See Ex. A at 5. One

evening, while Mr. Chatrie and his family were getting ready to turn into bed, he grew concerned

about his mother. Id. He went into her room to check on her. She told him to watch television

while she went to the bathroom. The next thing Mr. Chatrie knew, he heard a noise from the

bathroom. He went in and found his mother foaming at the mouth and gasping for air. Id. He

roused his sisters and yelled out the front door for help. A neighbor piled them into the neighbor’s

car and started driving them to the hospital. Id. Mr. Chatrie sat in the backseat with his mother’s

head cradled in his lap. She took her last breath before they even made it to the hospital. Id.

       The loss of his mother has devastated Mr. Chatrie. She was a person he relied on for

protection. She protected them as best as she knew how from the violence outside their home—

moving them to a rural area once she left Mr. Chatrie’s father. Id. She was the kind of mother



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who would give her children what food she had before she would take a bite herself. Id. at 2. She

did take some of her anger at others out on Mr. Chatrie, id. at 2-4, but Mr. Chatrie deeply loved

his mother. “When she died, all of my love and light died. And all my life changed forever, for

the rest of my life. Nothing in my life was the same.” Id. at 6. Except for a handful of counseling

meetings at Northern Neck Regional Jail, Mr. Chatrie has never been able to get any professional

help for the enduring grief he suffers from after losing his mother.

         Nor has Mr. Chatrie been able to be effectively treated for the post-traumatic stress disorder

and recurrent major depressive disorder that he suffers from. See Ex. A at 9-10. “As a complex

trauma victim, Mr. Chatrie is chronically distressed, intermittently overwhelmed by intrusive

symptoms, and hypervigilant to threats. As a result, he will be most successfully detained in a

calm and quiet atmosphere. Placement in a cell with other inmates who are loud, unruly, or

antagonizing is not ideal for his mental health.” Id. at 10. While incarcerated, Mr. Chatrie will

benefit greatly from any trauma-informed therapy that the Bureau of Prisons can offer him.

         Typically, the Court could and would order that the probation office make available the

types of supportive services that Mr. Chatrie would benefit from most while he was serving a term

of supervised release. But, Mr. Chatrie will most likely 1 be deported at the end of his sentence in

this case. And such an action entails more loss for Mr. Chatrie. Mr. Chatrie first came to the

United States only after being given status as a legal permanent resident. See ECF No. 233 at 2.

The robbery conviction in this case will almost certainly be deemed an aggravated felony under 8



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 If Mr. Chatrie’s appeal is denied, the convictions in this case will make Mr. Chatrie deportable. See, e.g.,
8 U.S.C. 1101(a)(43)(F). Should Mr. Chatrie’s convictions in this case be vacated at any point, he may
have more options for immigration relief. Additionally, the country conditions in Jamaica may deteriorate
before Mr. Chatrie’s release from custody to the extent that additional forms of immigration relief could
become available. Because the possibility for immigration relief depends on factors that have not yet and
may not come to fruition, it is not feasible for Mr. Chatrie to take a position at this point about whether he
would be eligible to seek any forms of relief from deportation in immigration court.

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U.S.C. § 1101(a)(43)(F)—meaning that not only will Mr. Chatrie serve a lengthy sentence in this

case, he will also lose the right he once had to work and live in the United States as a legal

permanent resident. Should Mr. Chatrie be deported at the end of his sentence in this case, Mr.

Chatrie asks that the Court not impose a term of supervised release upon his release. The

Sentencing Commission has found that the Court “ordinarily should not impose a term of

supervised release in a case in which supervised release is not required by statute and the defendant

is a deportable alien who likely will be deported after imprisonment.” See U.S.S.G. § 5D1.1(c).

The Commission has made this direction after finding that “[i]f such a defendant illegally returns

to the United States, the need to avoid adequate deterrence and protect the public ordinarily is

adequately served by a new prosecution.” Id. at app. n.5. So too here.

          Mr. Chatrie has no prior criminal convictions. And the record in this case indicates that

this case is a complete aberration for Mr. Chatrie. Mr. Chatrie’s own behavior the day of the

robbery corroborates his lack of experience committing such crimes. One of the victim tellers

described Mr. Chatrie as “unorganized, scared, and sweaty. ‘Honestly, the thing that scared me

most about him was how many times he kept putting his finger on the trigger. I thought he might

accidentally shoot us from being so nervous. I don’t think he’s done this many times before.’” 2

Mr. Chatrie’s written apology to the victims of the crimes upon his arrest also reflects his own

remorse at the harm he caused. “Am sorry for what I Did To you on that day Hope you forgive

me I didn’t mean to scare you I was just in need of the money again am sincerely sorry.” See ECF

No. 233 at ¶24. Mr. Chatrie was and remains truly remorseful for his actions.

          One other unique fact that the Court should consider in this case is that the government has

already recovered an incredibly large amount of the money stolen. The guidelines in this case are



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    This account is reflected on page 159 of discovery.

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in part driven by the amount of money that happened to be at the bank when Mr. Chatrie robbed

it. See ECF No. 233 at ¶35. Mr. Chatrie had no idea that the day he entered the bank was a day

that the bank happened to have far more cash on hand than normal because the bank would be

resupplying ATMs with cash. When Mr. Chatrie was arrested, he still had more than $102,000 of

the proceeds—nearly $100,000 of which was still in bank wrappers—at his home. See id. at ¶4.

If the Court took account of the money that remains lost currently, Mr. Chatrie’s guidelines would

be one level lower 3. Compare U.S.S.G. § 2B3.1(b)(7)(B) (requiring threshold of $20,000 for one-

level enhancement) and § 2B3.1(b)(7)(C) (requiring threshold of $95,000 for two-level

enhancement).

         Ultimately, Mr. Chatrie has never served any consequential amount of time in custody

before his arrest in this case. Now, he has spent three years in jail and faces many more years in

prison regardless of whether the Court imposes his requested sentence of a total of 130 months.

He has suffered through COVID infections twice during that time, both times laboring more than

someone with a mild case perhaps due to his childhood history as an asthmatic. Two of his

grandparents died in Jamaica since he has been incarcerated. Mr. Chatrie’s incarceration prevented

him from being able to celebrate and honor their lives with his family. He allowed his attorneys

to ask for several extensions of briefing schedules and hearing dates in order to proceed with full-

throated evidentiary hearings because of the important issues involved in this case. And this Court

has rightfully found that the warrant in his case was unconstitutional. But, because of the Court’s

ruling on good faith, Mr. Chatrie will not benefit from that finding of unconstitutionality as others

likely will in the future. All of these factors counsel that a total sentence of 130 months—46



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 That would translate to an advisory guideline range on Count One of 51 to 63 months (offense level 24 at
criminal history category I). Adding in 84 consecutive months for Count Two would total 135 to 147
months.

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months on Count One and a consecutive 84 months on Count Two—is sufficient but not greater

than necessary to satisfy all of the applicable concerns set forth in 18 U.S.C. § 3553(a).

       Mr. Chatrie is focused now on moving forward with positive changes ahead in his life. He

is eager to leave the local jails—to be able to walk outside and feel the sun shine on his skin, to be

able to have access to programming that can help occupy his mind and his time, and to be around

a larger population of others detained. To that end, he asks the Court to recommend to the Bureau

of Prisons that he be designated to serve his sentence at the federal correctional institution in Ft.

Dix, New Jersey. FCI Ft. Dix has a fairly large inmate population and thus, more available

programming options than many other facilities. FCI Ft. Dix’s proximity to New York, which still

has a fairly large Jamaican community, may also increase the chances that Mr. Chatrie may

connect with some other Jamaicans in prison. Mr. Chatrie’s complete isolation from the culture

that he grew up in and celebrated with his family in Richmond’s Jamaican community has further

made his local incarceration more difficult. One of Mr. Chatrie’s greatest desires is simply to be

understood—to connect with others that see him as he sees himself. Mr. Chatrie deserves that.

                                            Conclusion
       For the foregoing reasons, Mr. Chatrie asks the Court to impose a total sentence of 130

months—46 months on Count One and a consecutive 84 months on Count Two. A total sentence

of 130 months is sufficient, but not greater than necessary to address the sentencing factors set

forth in 18 U.S.C. § 3553(a).

                                                      Respectfully submitted,
                                                      OKELLO T. CHATRIE

                                               By:    ___________/s/____________
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                                                      Counsel for Defendant
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